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                    6   Attorneys for Defendants 4 Ever Life International Limited,
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                    7   Shield Association


                    8
                    9                                       UNITED STATES DISTRICT COURT
                   10                                                 DISTRICT OF ARIZONA
                   11 Todd Schwartz, a married man                                    No. CV-20-02002-PHX-DJH
                   12                      Plaintiff,
                   13                                                                 CORPORATE DISCLOSURE
                                  vs.                                                 STATEMENT FOR WORLDWIDE
                   14                                                                 INSURANCE SERVICES
                      4 Ever Life International Limited dba 4
                   15 Ever Life Insurance Company, an Illinois
                      corporation; Blue Cross and Blue Shield
                   16 Association, an Illinois corporation; BCS
                   17 Financial Corporation, an Illinois
                      corporation; BCS Financial Services
                   18 Corporation, an Illinois corporation;
                      Worldwide Insurance Services, LLC, a
                   19 foreign registered limited liability
                   20 company; and Black and White
                      Corporations I-X,
                   21
                                    Defendants.
                   22
                   23
                   24            This Corporate Disclosure Statement is filed on behalf of Worldwide Insurance
                   25 Services in compliance with the provisions of:
                   26                X Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental
                   27                      corporate party to an action in a district court must file a statement

LEWIS              28                      that identified any parent corporation and any publicly held
BRISBOIS
BISGAARD
& SMITH LLP             4845-2570-6706.1
ATTORNEYS AT LAW
                             Case 2:20-cv-02002-DJH Document 17 Filed 12/02/20 Page 2 of 4




                    1                      corporation that owns 10% or more of its stock or states that there is
                    2                      no such corporation.
                    3                      Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any
                    4                      nongovernmental corporate party to a proceeding in a district court
                    5                      must file a statement that identifies any parent corporation and any
                    6                      publicly held corporation that owns 10% or more of its stock or states
                    7                      that there is no such corporation.
                    8                      Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an
                    9                      organizational victim of alleged criminal activity is a corporation the
                   10                      government must file a statement identifying the victim and the
                   11                      statement must also disclose the information required by Rule
                   12                      12.4(a)(1).
                   13            The filing party hereby declares as follows:
                   14                      No such corporation.
                   15                      Party is a parent, subsidiary or other affiliate of a publicly owned
                   16                      corporation as listed below. (Attach additional pages if needed.)
                   17                                             Relationship
                   18                      Publicly held corporation, not a party to the case, with a financial interest in
                   19                      the outcome. List identity of corporation and the nature of financial interest.
                   20                      (Attach additional pages if needed.
                   21                                             Relationship
                   22                X     Other (please explain)
                   23 Worldwide Insurance Services, LLC is a limited liability company whose sole member is
                   24 Highway to Health, Inc., a non-public corporation
                   25
                   26            A supplemental disclosure statement will be filed upon any change in the
                   27 information provided herein.

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& SMITH LLP
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                             Case 2:20-cv-02002-DJH Document 17 Filed 12/02/20 Page 3 of 4




                    1                            Dated this 2nd day of December, 2020.
                    2
                    3                                  LEWIS BRISBOIS BISGAARD & SMITH LLP

                    4
                                                       By /s/ Robert C. Ashley
                    5                                     Sean P. Healy
                    6                                     Robert C. Ashley
                                                          Attorneys for Defendants 4 Ever Life International
                    7                                     Limited, Worldwide Insurance Services, LLC and
                                                          Blue Cross Blue Shield Association
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& SMITH LLP
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                             Case 2:20-cv-02002-DJH Document 17 Filed 12/02/20 Page 4 of 4




                    1                                  CERTIFICATE OF SERVICE
                    2            I hereby certify that on December 2, 2020, I electronically transmitted the foregoing
                    3 to the Clerk's office using the Court’s CM/ECF System and thereby served all counsel of
                    4 record in this matter.
                    5 Richard C. Gramlich
                      TIFFANY& BOSCO
                    6 Seventh Floor Camelback Esplanade II
                    7 2525 East Camelback Road
                      Phoenix, Arizona 85016-4237
                    8 RCG@tbla.com
                      Attorneys for Plaintiff Todd Schwartz
                    9
                   10
                        /s/ Sandy Rosales
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